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                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF FLORIDA
                               MIAMI DIVISION

                                CASE NO. 18-CV-22162

 LACHARMER WILSON,

       Plaintiff,

 v.

 MIAMI-DADE COUNTY,

       Defendant.

                               NOTICE OF REMOVAL

       Defendant Miami-Dade County, by and through undersigned counsel and

 pursuant to 28 U.S.C. § 1446, hereby removes this action from the Circuit Court of the

 11th Judicial Circuit, in and for Miami-Dade County, Florida, to the United States

 District Court for the Southern District of Florida, Miami Division. The removal of this

 action is based upon the following:

       I.     BACKGROUND

       On or about April 25, 2016, Plaintiff Lacharmer Wilson filed a civil action in the

 Circuit Court of the 11th Judicial Circuit, in and for Miami-Dade County, Florida,

 entitled Lacharmer Wilson v. Miami-Dade County Correctional and Rehabilitation

 Department, Case No. 2016-010427 CA 01 (the “State Court Action”). A full and

 complete copy of the State Court Action is attached hereto as Exhibit A. Plaintiff filed a

 Second Amended Complaint on May 2, 2018. In her Second Amended Complaint,

 Plaintiff asserted federal claims for the first time, and named Miami-Dade County as the

 new Defendant. See Exhibit A. Counts I, II, IV and V of Plaintiff’s Second Amended




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 Complaint are brought pursuant to 42 U.S.C. § 1981 and 42 U.S.C. § 1983.

        II.    FEDERAL QUESTION AND SUPPLEMENTAL JURISDICTION

        This Court has original federal question jurisdiction over Counts I, II, IV and V of

 this action because claims arising under federal law are federal causes of action. See 28

 U.S.C. § 1331. The Court also has supplemental jurisdiction over Count III, which re-

 alleges the same thirteen factual allegations contained in the federal counts, because it is

 so related to the federal claims that they form part of the same case or controversy. See

 28 U.S.C. § 1367(a). The United States District Court for the Southern District of Florida

 also embraces the judicial circuit where the State Court Action is pending. See 28

 U.S.C.A. § 1441(a).

        WHEREFORE, Defendant hereby removes this action from the Circuit Court of

 the 11th Judicial Circuit, in and for Miami-Dade County, Florida, to this Court. Pursuant

 to 28 U.S.C. § 1446(d), Defendant will provide written notice of the removal to the

 Plaintiff and file a copy of this Notice of Removal in the Circuit Court of the 11th Judicial

 Circuit, in and for Miami-Dade County, Florida.

 DATE: May 31, 2018                           Respectfully submitted,

                                              ABIGAIL PRICE-WILLIAMS
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                            CERTIFICATE OF SERVICE

       I hereby certify that on May 31, 2018 a true and correct copy of the foregoing
 was served via transmission of Notices of Electronic Filing generated by CM/ECF on all
 counsel or parties of record on the Service List below.

                                        s/ Joni A. Mosely
                                        Assistant County Attorney


                                     SERVICE LIST

                               CASE NO. 18-cv-22162

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